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                                                                   NG000051
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                                                                   NG000052
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                                                                   NG000126
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                                                                   NG000047
Receivable Detail Report                Case 1:14-cv-00648-TCB Document 52-7 Filed 12/03/14 Page 5 of 7 PageID# 377


                                                                                      Receivable Detail Report




Region                                            Not Selected                                                                                Market                           Not Selected
Business                                          Baltimore Washington Auto Outlet(52729)                                                     Report Date                      THU, 04/24/2014, 12.50.11 PM
Exclude Default Dealers                           False                                                                                       Requested By                     Shannon Landreth
Exclude Account Level Charges                     False                                                                                       Include Comments No
Dealer Finance Type                               All



                  Customer Profile                                                                                                           Market Info & Account Profile


  Name:                Baltimore Washington Auto Outlet                                                Market:                 Baltimore (253)
  Dealer Id:           52729                                                                           Market Phone:           (202)486-7081
  Address Line 1:      2747 Annapolis Road                                                             Finance Program:        Diamond
  Address Line 2:                                                                                      Dealer Status:          DL
  City, State, ZIP:    Hanover, MD 21076                                                               Lot Audit:              Incomplete
  Phone:               (301)621-2926                                                                   Unapplied Funds:        $.00
  Fax:                 (301)621-1243                                                                   Reserved Funds:                      $.00



  Fee Type                                                Description                                                                          Amount Due         Date Incurred
                                                                                                                                                         $.00
Total Account Charges for Baltimore Washington Auto Outlet (52729)
                                                                                                                                                        $.00



  LOC Type                     Approved Credit             Temp. Credit      Temp. Expiration      Total Credit:               Outstanding              Credit Available          Term Plan
  Retail                          $1,400,000.00              $100,000.00     06/01/2014            $1,500,000.00               $1,351,416.73                            $.00      D60/30/30 -- F80/65/65 -- R1.5 --
                                                                                                                                                                                  C%5/5 (Post Conversion 90 Terms)
Total Line of Credit for Baltimore Washington Auto Outlet (52729)
                                $1,400,000.00              $100,000.00                           $1,500,000.00             $1,351,416.73                            $.00


Floor           Last       Vehicle                                                              Original      Principal One Day                            Collateral
Date       Days Paid   VS Description        Clr VIN    Stk # TS Due    Disb Source             Amt.          Bal.       Bal                Fee    Interest Protection         Other          Total
Retail Inventory Detail for Baltimore Washington Auto Outlet (52729)


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                                             Case 1:14-cv-00648-TCB Document 52-7 Filed 12/03/14 Page 6 of 7 PageID# 378
Floor             Last        Vehicle                                                                          Original    Principal One Day                              Collateral
Date       Days Paid     VS Description        Clr VIN        Stk # TS Due       Disb Source                   Amt.        Bal.         Bal             Fee    Interest Protection      Other         Total
10/15/13    191 03/03/14 CUV 2011 Jagu XJ      Whi V20606      194 FR 04/17/14    S   Manheim Pennsylvania    $45,515.00   $30,418.24         $.00    $85.00    $420.02          $.00    $65.00   $30,988.26
10/16/13    190 03/03/14 SOT 2008 Merc CL C    Bla 014089      196 FR 04/17/14    S   ADESA Washington DC     $38,865.00   $25,973.97         $.00    $85.00    $358.83          $.00    $65.00   $26,482.80
10/10/13    196 04/10/14 CUV 2011 BMW 7-Se     Unk 434490      197 FR 05/27/14    S   Manheim Pennsylvania    $39,450.00   $22,410.19         $.00    $85.00     $82.93          $.00      $.00   $22,578.12
10/10/13    196 04/10/14 CUV 2008 BMW X5       Unk 035965      198 FR 05/27/14    S   Manheim Pennsylvania    $27,510.00   $15,627.49         $.00    $85.00     $57.91          $.00      $.00   $15,770.40
10/17/13    189 03/17/14 CUV 2008 GMC Yuko     Bro 250610      227 FR 04/16/14    S   MAFS Pennsylvania       $27,415.31   $16,836.43         $.00    $85.00     $88.99          $.00    $65.00   $17,075.42
10/24/13    182 03/10/14 SOT 2008 Merc S Cl    Bla 142216      246 FR 04/24/14    S   Manheim Pennsylvania    $51,090.00   $34,144.08         $.00    $85.00    $407.41          $.00      $.00   $34,636.49
11/01/13    174 03/17/14 CUV 2007 Merc C Cl    Unk 919271      248 FR 05/01/14    S   Manheim Pennsylvania    $12,860.00   $11,606.15         $.00    $75.00     $61.39          $.00      $.00   $11,742.54
11/04/13    171 03/20/14 RHD 2007 AUDI Q7      Gra 056895      251 ST 05/05/14    S   Manheim Pennsylvania    $19,370.00   $17,481.43         $.00    $75.00     $84.98          $.00    $50.00   $17,691.41
11/07/13    168 03/24/14 PFC 2006 GMC Yuko     Bla 141625      255 FR 05/08/14    S   Manheim Pennsylvania    $13,435.00   $12,125.09         $.00    $75.00     $52.28          $.00      $.00   $12,252.37
11/01/13    174 03/17/14 RHD 2007 BMW X3       Unk J00167      257 ST 05/01/14    S   Manheim Pennsylvania    $14,315.00   $12,919.29         $.00    $75.00     $68.30          $.00    $50.00   $13,112.59
11/15/13    160 03/17/14 SOT 2009 Merc M Cl    Bla 499181      264 FR 04/16/14    S   Manheim Pennsylvania    $25,080.00   $15,402.26         $.00    $70.00     $85.51          $.00    $65.00   $15,622.77
11/18/13    157 04/04/14 CUV 2008 MERC E350 Unk 192609         269 FR 05/19/14    S   Manheim Pennsylvania    $23,230.00   $15,524.90         $.00    $85.00     $82.29          $.00      $.00   $15,692.19
11/21/13    154 04/07/14 RHD 2006 MERC E350 Bla 885367         271 ST 05/22/14    S   Manheim Pennsylvania    $16,295.00   $14,706.24         $.00    $75.00     $34.71          $.00    $50.00   $14,865.95
12/04/13    141 02/28/14 PFC 2010 Toyo Sien    Bla 029629      278 FR 04/18/14    B   Manheim Pennsylvania    $22,100.00   $20,995.00         $.00    $75.00    $160.51          $.00    $65.00   $21,295.51
12/04/13    141 02/28/14 SOT 2013 Dodg Chal    Red 536750      279 FR 04/18/14    B   Manheim Pennsylvania    $20,275.00   $19,261.25         $.00    $75.00    $147.30          $.00    $65.00   $19,548.55
12/19/13    126 03/17/14 RHD 2010 Infi G37     Sil   253321    287 ST 05/05/14    S   Manheim Pennsylvania    $16,330.00   $15,513.50         $.00    $75.00    $156.50          $.00    $50.00   $15,795.00
12/27/13    118 03/26/14 PFC 2011 AUDI Q5 2    Whi 073648      291 FR 05/12/14    S   Manheim Pennsylvania    $25,035.00   $23,783.25         $.00    $75.00    $182.60          $.00      $.00   $24,040.85
12/27/13    118 03/26/14 RHD 2006 Humm H2      Mar 106479      292 ST 05/12/14    S   Manheim Pennsylvania    $18,570.00   $17,641.50         $.00    $75.00    $135.60          $.00    $50.00   $17,902.10
01/10/14    104 04/10/14 PFC 2010 Lexu GS 3    Cre 026669      295 FR 05/27/14    B   Trade-In                $25,000.00   $19,656.25         $.00    $85.00     $72.79          $.00      $.00   $19,814.04
01/14/14    100 04/14/14 CUV 2007 Merc CL C    Gra 001307      296 FR 05/29/14    S   USAA Federal Saving     $30,300.00   $23,823.38         $.00    $85.00     $62.92          $.00      $.00   $23,971.30
                                                                                      Bank
01/10/14    104 04/10/14 CUV 2010 Niss Maxi    Unk 867136      297 FR 05/12/14    S   Manheim Pennsylvania    $18,660.00   $13,481.85         $.00    $70.00     $27.52          $.00      $.00   $13,579.37
01/09/14    105 03/13/14 SOT 2011 Niss Maxi    Unk 847579      300 FR 05/09/14    S   Manheim Pennsylvania    $19,775.00   $14,287.44         $.00    $70.00     $87.41          $.00      $.00   $14,444.85
01/09/14    105 04/09/14 CUV 2012 FIAT 500     Bla 103048      301 FR 05/09/14    S   Manheim Pennsylvania    $10,705.00    $7,734.36         $.00    $70.00     $16.98          $.00      $.00    $7,821.34
01/10/14    104 04/10/14 CUV 2011 HOND ACRD Bla 002808         303 FR 05/12/14    S   Manheim Pennsylvania    $18,185.00   $13,138.66         $.00    $70.00     $26.83          $.00      $.00   $13,235.49
01/16/14     98 02/25/14 RHD 2004 Jagu XJ X    Unk G18469      305 ST 04/17/14    S   Security Plus Federal    $9,350.00    $8,648.75         $.00   $170.00    $136.69          $.00   $115.00    $9,070.44
                                                                                      Credit Union
01/17/14     97 03/18/14 CUV 2012 Chev G150    Bla 148796      307 FR 04/17/14    S   Manheim Pennsylvania    $45,045.00   $38,288.25         $.00    $70.00    $206.07          $.00    $65.00   $38,629.32
01/17/14     97 03/17/14 CUV 2010 Hond Acco    Whi 010514      310 FR 04/17/14    S   Manheim Pennsylvania    $15,565.00   $13,230.25         $.00    $70.00     $73.22          $.00    $65.00   $13,438.47
02/04/14     79 03/18/14 RHD 2007 MERC E350 Sil      176163    313 ST 05/05/14    S   Manheim Pennsylvania    $17,365.00   $16,062.63         $.00    $85.00    $157.80          $.00    $50.00   $16,355.43
02/04/14     79 04/07/14 CUV 2012 Jagu XJ      Whi V26982      315 FR 05/07/14    S   Manheim Pennsylvania    $52,130.00   $44,310.50         $.00      $.00    $109.35          $.00      $.00   $44,419.85
02/05/14     78 03/24/14 CUV 2010 BMW 3-Se     Bro 491796      316 FR 05/08/14    B   Trade-In                $24,300.00   $22,477.50         $.00    $85.00    $184.64          $.00      $.00   $22,747.14
02/05/14     78 04/07/14 RHD 2007 HUMM H2      Blu 105533      317 ST 05/07/14    S   ADESA Washington DC     $16,410.00   $13,948.50         $.00      $.00     $34.43          $.00    $50.00   $14,032.93
02/05/14     78 04/07/14 PFC 2011 Merc C Cl    Blu 169243      319 FR 05/07/14    S   ADESA Washington DC     $19,985.00   $16,987.25         $.00      $.00     $41.92          $.00      $.00   $17,029.17
02/12/14     71 03/26/14 CUV 2007 Ford F150    Bla C85867      320 FR 05/15/14    S   ADESA Washington DC     $25,295.00   $23,397.88         $.00    $85.00    $179.63          $.00      $.00   $23,662.51
02/19/14     64 04/07/14 CUV 2008 Ford F150    Bla B05153      322 FR 05/22/14    S   ADESA Washington DC     $21,515.00   $19,901.38         $.00    $85.00     $89.52          $.00      $.00   $20,075.90
02/21/14     62 04/07/14 RHD 2011 CHEV AVEO Gra 256536         324 ST 05/22/14    S   Manheim                  $7,525.00    $6,960.63         $.00    $85.00     $31.55          $.00    $50.00    $7,127.18
                                                                                      Baltimore-Washington
02/21/14     62 04/07/14 CUV 2012 Niss Ques    Whi 040289      325 FR 05/22/14    S   Manheim                 $14,385.00   $13,306.13         $.00    $85.00     $59.98          $.00      $.00   $13,451.11
                                                                                      Baltimore-Washington
02/21/14     62          CUV 2011 Hond Civi    Unk 034415      328 FR 05/08/14    S   Manheim Pennsylvania    $11,330.00   $11,330.00         $.00   $115.00     $90.87          $.00    $28.00   $11,563.87
02/28/14     55 04/14/14 CUV 2011 BMW 5-Se     Unk 870478      329 FR 05/29/14    S   Manheim Pennsylvania    $28,530.00   $26,390.25         $.00    $85.00     $69.67          $.00      $.00   $26,544.92
02/21/14     62          RHD 2011 Hond CR-V    Bla 021433      331 ST 05/08/14    S   Manheim Pennsylvania    $13,540.00   $13,540.00         $.00   $115.00    $108.31          $.00    $68.00   $13,831.31
02/21/14     62          RHD 2013 Chev Cruz    Unk 135326      332 ST 05/08/14    S   Manheim Pennsylvania    $14,210.00   $14,210.00         $.00   $115.00    $113.61          $.00    $68.00   $14,506.61
02/28/14     55 04/14/14 SOT 2011 BMW 5-Se     Whi 870573      333 FR 05/29/14    S   Manheim Pennsylvania    $30,405.00   $28,124.63         $.00    $85.00     $74.24          $.00      $.00   $28,283.87



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Floor             Last         Vehicle                                                                             Original     Principal One Day                              Collateral
Date       Days Paid      VS Description        Clr VIN        Stk # TS Due       Disb Source                      Amt.         Bal.         Bal             Fee    Interest Protection      Other          Total
03/05/14     50           CUV 2008 Ford E350    Whi A22445      334 FR 05/05/14    S   ADESA Washington DC        $14,115.00    $14,115.00         $.00    $67.00    $103.32          $.00    $18.00    $14,303.32
03/07/14     48           SOT 2013 Dodg Char    Whi 554352      335 FR 04/21/14    S   ERAC of Baltimore DR       $17,860.00    $17,860.00         $.00   $170.00    $228.25          $.00    $83.00    $18,341.25
                                                                                       GROUP 18
03/07/14     48           RHD 2013 Volk Pass    Sil   021392    336 ST 04/21/14    S   ERAC of Baltimore DR       $13,960.00    $13,960.00         $.00   $170.00    $178.72          $.00   $133.00    $14,441.72
                                                                                       GROUP 18
03/13/14     42           CUV 2008 Infi G35     Sil   256771    338 FR 04/28/14    S   Manheim Pennsylvania       $15,365.00    $15,365.00         $.00   $135.00    $172.34          $.00    $18.00    $15,690.34
03/13/14     42           CUV 2008 Lexu IS 2    Whi 027438      339 FR 04/28/14    S   Manheim Pennsylvania       $17,485.00    $17,485.00         $.00   $135.00    $195.88          $.00    $18.00    $17,833.88
03/13/14     42           CUV 2011 Chry 300     Bla 595579      341 FR 04/28/14    S   Manheim Pennsylvania       $19,500.00    $19,500.00         $.00   $135.00    $218.26          $.00    $18.00    $19,871.26
03/13/14     42           SOT 2012 Chev Cama    Blu 155806      342 FR 04/28/14    S   Manheim Pennsylvania       $18,985.00    $18,985.00         $.00   $135.00    $212.54          $.00    $18.00    $19,350.54
03/17/14     38           RHD 2010 MERC S550 Bla 340173         343 FR 05/16/14    S   Manheim                    $43,825.00    $43,825.00         $.00    $80.00    $301.44          $.00    $18.00    $44,224.44
                                                                                       Baltimore-Washington
03/19/14     36           CUV 2007 LAND RANG Whi 240506         344 FR 05/19/14    S   Manheim Pennsylvania       $25,580.00    $25,580.00         $.00   $130.00    $167.24          $.00    $18.00    $25,895.24
03/19/14     36           SOT 2008 PORS CAYE Gre A33191         345 FR 05/19/14    S   Manheim Pennsylvania       $16,965.00    $16,965.00         $.00   $130.00    $111.24          $.00    $18.00    $17,224.24
03/19/14     36           CUV 2011 HOND CR-V Bla 016971         346 FR 05/19/14    S   Manheim Pennsylvania       $17,040.00    $17,040.00         $.00   $130.00    $111.73          $.00    $18.00    $17,299.73
03/25/14     30           SOT 2008 BMW 750L     Whi T81554      347 FR 05/27/14    S   Manheim Pennsylvania       $23,080.00    $23,080.00         $.00   $130.00    $125.76          $.00    $18.00    $23,353.76
03/25/14     30           PFC 2005 BMW 645C     Bla 193632      348 FR 05/27/14    S   Manheim Pennsylvania       $21,780.00    $21,780.00         $.00   $130.00    $118.72          $.00    $18.00    $22,046.72
03/25/14     30 03/31/14 CUV 2010 Dodg Chal     Ora 308822      349 FR 05/27/14    S   USAA Federal Saving        $29,400.00    $29,400.00         $.00   $130.00    $164.74          $.00   $118.00    $29,812.74
                                                                                       Bank
03/27/14     28           CUV 2005 CHEV CORV Unk 112639         350 FR 05/27/14    S   Manheim Pennsylvania       $28,070.00    $28,070.00         $.00   $130.00    $142.56          $.00    $18.00    $28,360.56
03/27/14     28           SOT 2009 CADI ESC     Bla 102808      351 FR 05/27/14    S   Manheim Pennsylvania       $30,270.00    $30,270.00         $.00   $130.00    $153.68          $.00    $18.00    $30,571.68
04/01/14     23           PFC 2010 LEXU ES 3    Unk 397091      352 FR 06/02/14    S   Manheim Pennsylvania       $20,000.00    $20,000.00         $.00   $130.00     $83.58          $.00    $18.00    $20,231.58
04/01/14     23           PFC 2007 BMW 750L     Blu T75951      353 FR 06/02/14    S   Manheim Pennsylvania       $22,520.00    $22,520.00         $.00   $130.00     $94.02          $.00    $18.00    $22,762.02
04/01/14     23           CUV 2011 Hond Acco    Whi 003326      354 FR 06/02/14    S   Manheim Pennsylvania       $21,820.00    $21,820.00         $.00   $130.00     $91.12          $.00    $18.00    $22,059.12
04/04/14     20 04/08/14 RHD 2008 Pors Caye     Bla A22039      355 ST 06/03/14    S   Manheim Pennsylvania       $19,750.00    $19,750.00         $.00   $130.00     $75.21          $.00    $68.00    $20,023.21
04/04/14     20           SOT 2013 BMW 6-Se     Whi 097953      356 FR 06/03/14    S   Manheim Pennsylvania       $70,835.00    $70,835.00         $.00   $130.00    $255.98          $.00    $18.00    $71,238.98
04/09/14     15           CUV 2013 JEEP GRAN Bla 562160         357 FR 06/09/14    S   ADESA Washington DC        $29,700.00    $29,700.00         $.00    $80.00     $80.56          $.00    $18.00    $29,878.56
04/09/14     15           RHD 2009 FORD MUST Ora 116136         358 ST 06/09/14    S   ADESA Washington DC        $21,200.00    $21,200.00         $.00    $80.00     $57.58          $.00    $68.00    $21,405.58
04/09/14     15           CUV 2007 BMW 6 SE     Blu N82095      359 AS 06/09/14    S   ADESA Washington DC        $26,705.00    $26,705.00         $.00    $80.00     $72.46          $.00    $18.00    $26,875.46
Total Retail
                                                                                                              $1,532,060.31 $1,351,416.73          $.00 $6,157.00 $8,240.94          $.00 $2,011.00 $1,367,825.67
Unit Count:          65


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